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  1                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF RHODE ISLAND
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         * * * * * * * * * * * * * * * *             C.R. NO. 15-120JJM
  4                                    *
         UNITED STATES OF AMERICA      *
  5                                    *
             VS.                       *             AUGUST 6, 2018
  6                                    *             10:00 A.M.
         LOUIS MARANDOLA, et al        *
  7                                    *
         * * * * * * * * * * * * * * * *             PROVIDENCE, RI
  8

  9                   BEFORE THE HONORABLE JOHN J. McCONNELL, JR.,

10                                        DISTRICT JUDGE

11                                    (Restitution Hearing)

12       APPEARANCES:
         FOR THE GOVERNMENT:             SANDRA R. HEBERT, AUSA
13                                       U.S. Attorney's Office
                                         50 Kennedy Plaza
14                                       Providence, RI 02903

15       FOR DEFT. MARANDOLA:            JAMES W. RYAN, ESQ.
                                         Pannone, Lopes, Devereaux &
16                                       O'Gara LLC
                                         1301 Atwood Avenue, Ste. 215N
17                                       Johnston, RI 02919

18       FOR DEFT. McCAFFREY:            ANTHONY M. TRAINI, ESQ.
                                         56 Pine Street, Ste. 200
19                                       Providence, RI 02903

20       FOR DEFT. MARZIALE:             JOSEPH J. VOCCOLA, ESQ.
                                         Voccola Law Associates
21                                       454 Broadway
                                         Providence, RI 02909
22
         FOR DEFT. MOHAMED:              RUI P. ALVES, ESQ.
23                                       Barton Gilman LLP
                                         10 Dorrance Street, Ste. 800
24                                       Providence, RI 02903

25
         Court Reporter:                 Karen M. Wischnowsky, RMR-CRR
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  1      6 AUGUST 2018 -- 10:00 A.M.

  2                THE COURT:     Good morning, everyone.          We're here

  3      this morning in the case of the United States versus

  4      Louis Marandola, Criminal Action 15-120, and we're here

  5      on the issue of restitution.

  6                Would counsel identify themselves for the

  7      record.

  8                MS. HEBERT:      Sandra Hebert for the United

  9      States.

10                 MR. TRAINI:      Anthony Traini for Brian McCaffrey.

11                 MR. VOCCOLA:      Your Honor, Joseph Voccola

12       representing Mr. Marziale.

13                 MR. KEABLE:      Your Honor, Cale Keable on behalf

14       of Sierra Pacific Mortgage Company.

15                 MR. WILDENHAIN:       Chris Wildenhain on behalf of

16       Sierra Pacific Mortgage.

17                 MR. RYAN:     Good morning, your Honor.           James Ryan

18       here for Mr. Devereaux in connection with

19       Mr. Marandola.

20                 THE COURT:     Great.     Ms. Hebert, why don't you

21       come forward and fill us in on where we are and what's

22       happening.

23                 MS. HEBERT:      Yes, your Honor.       So the Defendants

24       that were outstanding after the last hearing as to the

25       question of restitution were Defendant Marandola,
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  1      Defendant McCaffrey and Defendant Marziale.

  2                And as I understand it today is that Defendant

  3      McCaffrey and Sierra Pacific have reached an agreement,

  4      and the other restitution owed with respect to

  5      Defendant McCaffrey was the $34,558.76 to the Federal

  6      Housing Administration.

  7                I believe that Defendant Marziale and Sierra

  8      Pacific are still in negotiations but are very close.

  9      I can maybe let Mr. Voccola speak to that more

10       precisely.

11                 And then there are four other victims to whom

12       Mr. Marziale owes restitution; and that would be the

13       FHA, Mr. Doug Lopez, Mr. Roberto Concepcion and

14       Mr. Luis Sepulveda.

15                 And then with respect Defendant Marandola, I

16       spoke to Mr. Devereaux this morning, and he was having

17       difficulty communicating with Defendant Marandola.                   He

18       did communicate with him last night.

19                 As I understand it, Defendant Marandola and

20       Sierra Pacific have an agreement.             They need to

21       memorialize that agreement, and Mr. Devereaux needs to

22       get Defendant Marandola's agreement to not be here in

23       person.

24                 And so he, I believe, was going to have Mr. Ryan

25       ask for an additional two weeks.             I think Mr. Devereaux
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  1      had a conflict as well this morning, and I told him I

  2      would not be opposing his request for another two

  3      weeks.

  4                THE COURT:     Okay.     Don't go away.       Let's start

  5      with Mr. Marandola's motion.

  6                Mr. Keable, do you have any objection to the

  7      motion to continue Mr. Marandola's restitution hearing

  8      for two weeks?

  9                MR. KEABLE:      No objection, your Honor.

10                 THE COURT:     So that motion will be granted

11       without objection from the Government or from Sierra

12       Pacific.

13                 Mr. Keable, are we prepared to put

14       Mr. McCaffrey's restitution agreement --

15                 MR. KEABLE:      We are, your Honor.

16                 THE COURT:     Why don't you come forward.

17                 Mr. Traini, why don't you come forward.

18                 Ms. Hebert, why don't you stay with us.

19                 MR. TRAINI:      Good morning, your Honor.

20                 THE COURT:     Good morning, Mr. Traini.           How are

21       you?     First, has your client waived his right to be

22       present?

23                 MR. TRAINI:      He's here, your Honor.

24                 THE COURT:     Oh, he's here?

25                 MR. TRAINI:      Mr. McCaffrey's in the courtroom.
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  1                THE COURT:     Welcome.

  2                MR. TRAINI:      Your Honor, we have reached an

  3      agreement subject to the other agreement that we worked

  4      out with the Government that if we were able to work

  5      something out directly with Sierra Pacific, the

  6      Government would not object to that.              And we now have

  7      an agreement.

  8                Mr. Keable and I have agreed that the amount of

  9      restitution assignable to Mr. McCaffrey with respect to

10       Sierra Pacific will be $85,000.             He will be severally

11       liable for that amount.

12                 He will not be jointly and severally liable for

13       any other amount payable to Sierra Pacific with anyone

14       else, and Sierra Pacific has agreed also that this will

15       resolve any civil liability that Mr. McCaffrey may have

16       to them with respect to this particular matter.                  So

17       there won't be any more liability that they will try to

18       attach to him, and probation will deal with the usual

19       collection process.

20                 With respect to the FHA $34,558.76, that was the

21       correct figure Ms. Hebert gave you.              I think, and Sandy

22       can correct me, but I think Mr. McCaffrey's jointly and

23       severally liable on that one with I think everybody.

24                 So that's my understanding of our agreement,

25       your Honor.      And if the Government agrees to that and
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  1      Mr. Keable agrees to that, we should be all set.

  2                THE COURT:     Any objection, Mr. Keable?

  3                MR. KEABLE:      No objection, your Honor.

  4                THE COURT:     Any objection, Ms. Hebert?

  5                MS. HEBERT:      No, your Honor.

  6                THE COURT:     And I think the Court has already

  7      made notice that Mr. McCaffrey is present with us, but

  8      he's speaking through his attorney having agreed to

  9      this.

10                 The judgment for restitution against

11       Mr. McCaffrey will be amended such that he will be

12       severally liable to Sierra Pacific in the amount of

13       $85,000 and he will be jointly and severally liable

14       along with all other Defendants named in this case to

15       FHA in the amount of $34,558.76.

16                 Anything further?

17                 MR. KEABLE:      Thank you, your Honor.

18                 MR. TRAINI:      Thank you, your Honor.

19                 THE COURT:     Mr. Voccola, do you want to come

20       forward and we can talk about Mr. Marziale.

21                 MR. VOCCOLA:      Good morning, your Honor.

22                 THE COURT:     Good morning, Mr. Voccola.           How are

23       you?

24                 MR. VOCCOLA:      Very well.      Thank you.      I've had

25       the opportunity, your Honor, over the last week or
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  1      couple of weeks to speak to Mr. Keable about resolving

  2      what's owed to his client, and I think we're making

  3      some progress.

  4                Mr. Marziale's family had tried to pull together

  5      a certain -- a lump sum.          I made that offer to

  6      Mr. Keable, and there's a new offer today.                I spoke to

  7      the family again.        And he's going to be bringing that

  8      offer back to his client.           We're trying to have a

  9      lump-sum payment to extinguish whatever's owed to his

10       client.

11                 THE COURT:     Mr. Keable?

12                 MR. KEABLE:      That's correct, your Honor.

13       They've made an offer.          Sierra Pacific has countered.

14       They have raised their offer today.              I need to bring

15       that back to my client.

16                 There's been a representation that the Defendant

17       is on disability.        I'm sure if Mr. Voccola gives me

18       some evidence of that, that might go a long way to

19       getting my client to agree to take a lump sum now

20       rather than have a larger number later.

21                 THE COURT:     Ms. Hebert, I assume that the

22       Government has no objection with the discussions that

23       are going on or the settlement talks between Sierra

24       Pacific and Mr. Marziale as to Sierra Pacific.

25                 MS. HEBERT:      No objection, your Honor, but
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  1      perhaps if the Court and Mr. Voccola's amenable, we

  2      could ask -- the Government could ask that the

  3      restitution order with respect to the four other

  4      victims be entered today; as to the four other victims

  5      applicable to Mr. Marziale, that we enter an order

  6      today.

  7                THE COURT:     What's that amount?

  8                MS. HEBERT:      You want me to go through each one?

  9      So the FHA --

10                 THE COURT:     Let's see -- no need to do it unless

11       we're going to have an agreement.

12                 MR. VOCCOLA:      If we could just look at it, your

13       Honor, one moment.

14                 THE COURT:     Absolutely.

15                 (Counsel confer)

16                 MR. VOCCOLA:      No problem, your Honor.

17                 THE COURT:     Ms. Hebert, why don't you put on the

18       record what that agreement is as to these Defendants.

19       And then would it make sense for us to continue

20       Mr. Marziale's to the same time as Mr. Marandola's?

21       And we're assuming that both of those will go away

22       because it sounds like agreement, and we'll either do

23       it by -- we'll do it some way or another.

24                 Does that make sense as to Mr. Marziale's

25       restitution order as to Sierra Pacific?
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  1                MS. HEBERT:      Yes, your Honor, as long as it's

  2      okay that we enter the others without Mr. Marziale

  3      present.     His appearance is waived, I believe.

  4                THE COURT:     Does he waive his appearance,

  5      Mr. Voccola?

  6                MR. VOCCOLA:      Yes, he does, your Honor.

  7                THE COURT:     Okay.     Great.    Then why don't you

  8      state what that agreed-to judgment for restitution

  9      amount will be as to which victims.

10                 MS. HEBERT:      As to the FHA, joint and several

11       with all other named Defendants, $34,558.76; as to

12       Mr. Doug Lopez, joint and several with Defendant Louis

13       Marandola, amount of $1,351.79; as to Mr. Roberto

14       Concepcion, joint and several with Defendant Marandola,

15       $3,659.14; as to Mr. Luis Sepulveda, joint and several

16       with Defendant Marandola, $3,013.55.

17                 THE COURT:     Any objection, Mr. Voccola?

18                 MR. VOCCOLA:      No, your Honor.

19                 THE COURT:     The judgment and restitution as to

20       Mr. Marziale shall be amended as stated by the

21       Government as to each of those victims.               It will be

22       left open as to Sierra Pacific, and that determination

23       of restitution will be continued for two weeks at the

24       same time as the Sierra Pacific issue as to

25       Mr. Marandola.
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  1                Ms. Hebert, do we have an agreement as to FHA as

  2       to Mr. Marandola that can enter or should we just wait

  3       and do that at once?

  4                MS. HEBERT:      I think we need to wait, your

  5       Honor.    I don't feel comfortable representing that

  6       Mr. Devereaux and I have an agreement.

  7                THE COURT:      Great.    Thank you.

  8                Anything further, folks, that we can handle on

  9       this matter while we're here?

 10                MS. HEBERT:      No, your Honor.

 11                THE COURT:      Great.    Thank you, all.       We'll stand

 12       adjourned.

 13                (Adjourned)

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  1                                 C E R T I F I C A T I O N

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  4                          I, Karen M. Wischnowsky, RPR-RMR-CRR, do

  5       hereby certify that the foregoing pages are a true and

  6       accurate transcription of my stenographic notes in the

  7       above-entitled case.

  8

  9                          August 10, 2018

 10                          Date

 11

 12

 13                          /s/ Karen M. Wischnowsky________________

 14                          Karen M. Wischnowsky, RPR-RMR-CRR
                             Federal Official Court Reporter
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